[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]CORRECTED MEMORANDUM OF DECISION DE: THE DEFENDANT'S MOTION TO MODIFYALIMONY AND CHILD SUPPORT (#135)
The current order of periodic alimony of $2,000.00 monthly was entered on November 23, 1992 upon the court's finding that a substantial change in circumstances had occurred.
When the current order was entered, the defendant was employed by Kalmbach Publishing at an annual salary of $85,000.00. The defendant relocated to Wisconsin where his employer was situated. His employer was furnishing Blue Cross/Blue Shield coverage for the defendant and the two minor children of the marriage.
The plaintiff was employed at Bridgeport Hospital as a nurse working 24 hours weekly at $16.64 per hour with $96.00 deducted for daycare.
The child support order of $1,520.00 was not modified on November 23, 1992 when the alimony order was modified to $2,000.00 monthly.
Now the defendant is unemployed, having been paid a severance package which extended over three months, expiring in September, 1995. He has been collecting unemployment compensation of $335.00 weekly for the 16 weeks prior to the current hearing held on March CT Page 4074-M 4, 1996. He is searching for new employment. He has interest and dividend net income of $268.00 weekly.
The plaintiff is now employed by the Town of Fairfield as a public health nurse earning a weekly gross of $334.00 and a net disposable income of $233.00. She also receives $50.00 weekly rent from a family member.
The defendant has substantial unrealized capital gains including an item expected from a tax shelter which the defendant testified will produce $100,000.00 capital gain together with the tax obligation thereon. He is heavily margined in his brokerage account which does produce the dividends and interest indicated but which bears interest on the margin.
The defendant's motion is granted. The following order is made retroactive to December 11, 1995. The defendant's lack of employment is the basis for the order. The defendant shall pay to the plaintiff the sum of $500.00 monthly periodic alimony. The court declines to alter the child support order.
HARRIGAN, J.